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 6 Attorneys for Plaintiff
   United States of America
 7
 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-0006 MCE
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          FINDINGS AND ORDER
14   AVTAR BAINS, BALKAR SINGH,                         DATE: May 22, 2014
     HARVINDER KAUR, SUKHWINDER                         TIME: 9:00 a.m.
15   KAUR,                                              COURT: Hon. Morrison C. England, Jr.
16                                Defendants.
17
18                                               STIPULATION

19         1.      By previous order, this matter was set for status on May 22, 2014.

20         2.      By this stipulation, defendants now move to continue the status conference until June 19,

21 2014, and to exclude time between May 22, 2014, and June 19, 2014, under Local Code T4.
22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)      The government has represented that the discovery associated with this case

24         includes investigative reports and related documents from three multiple investigative agencies

25         as well as both bank records and evidence recovered during the execution of multiple search

26         warrants. All of this discovery has been either produced directly to counsel or made available

27         for inspection and copying.

28                 b)      Counsel for defendants desire additional time to inspect the evidence, conduct

      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]      1
      FINDINGS AND ORDER
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 1          investigation, and discuss potential resolution with their clients and the government.

 2                  c)      Counsel for defendants believe that failure to grant the above-requested

 3          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                  d)      The government does not object to the continuance.

 6                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of May 22, 2014 to June 19, 2014,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendants’ request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
17 must commence.
18          IT IS SO STIPULATED.

19
     Dated: May 20, 2014                                      BENJAMIN B. WAGNER
20                                                            United States Attorney
21
                                                              /s/ JARED C. DOLAN
22                                                            JARED C. DOLAN
                                                              Assistant United States Attorney
23
24
25 Dated: May 20, 2014                                        /s/ DAVID FISCHER
                                                              DAVID FISCHER
26
                                                              Counsel for Defendant
27                                                            AVTAR BAINS

28

       STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]       2
       FINDINGS AND ORDER
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     Dated: May 20, 2014                                   /s/ DWIGHT SAMUEL
 1                                                         DWIGHT SAMUEL
                                                           Counsel for Defendant
 2
                                                           BALKAR SINGH
 3
 4 Dated: May 20, 2014                                     /s/ MICHAEL BIGELOW
                                                           MICHAEL BIGELOW
 5                                                         Counsel for Defendant
                                                           HARVINDER KAUR
 6
 7 Dated: May 20, 2014                                     /s/ STANLEY KUBOCHI
 8                                                         STANLEY KUBOCHI
                                                           Counsel for Defendant
 9                                                         SUKHWINDER KAUR

10
11
12
                                                     ORDER
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           IT IS SO FOUND AND ORDERED.
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     Dated: May 21, 2014
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      STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]     3
      FINDINGS AND ORDER
